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              Exhibit A
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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

  DONNA M. GRITTERS;                                              )
                                               Plaintiff,         )   CIVIL ACTION
                                                                  )
                                                                  )   File No. 1:14-cv-916
                                               v.                 )
  OCWEN LOAN SERVICING, LLC;
                                                                  )   JURY TRIAL DEMANDED
  NATIONSTAR MORTGAGE, LLC;
                                                                  )
  FEDERAL HOME LOAN
                                                                  )   Hon. Jorge L. Alonso
  MORTGAGE CORPORATION; AND
                                               Defendants.        )
  PIERCE & ASSOCIATES, P.C.;
                                                                  )
                               FIRST AMENDED COMPLAINT

       Plaintiff, DONNA GRITTERS, by the undersigned attorneys, complains of OCWEN

LOAN SERVICING, LLC, NATIONSTAR MORTGAGE, LLC, FEDERAL HOME LOAN

MORTGAGE CORPORATION, and PIERCE & ASSOCIATES, P.C. as follows:

                                     NATURE OF THE ACTION

   1. Plaintiff DONNA M. GRITTERS (“Gritters”) brings this action for damages from breach

of contract, breach of fiduciary duty, and violations of the Fair Debt Collection Practices Act

(“FDCPA”), the Illinois Consumer Fraud Act (“ICFA”), the Real Estate Settlement Procedures

Act (“RESPA”), and the Truth in Lending Act (“TILA”).

   2. All of the claims stated herein stem from the wrongful servicing, debt collection, and loss

mitigation activities related to Gritters’ mortgage loan.

                                    JURISDICTION AND VENUE

   3. Subject matter jurisdiction is conferred upon this Court by 28 U.S.C. §§ 1331 and 1337

as the action arises under the laws of the United States. The Court has supplemental jurisdiction

over state law claims under 28 U.S.C. § 1367. Venue is proper in this District pursuant to 28

U.S.C. § 1391 as Gritters resides in this District and the events occurred in this District.


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                                               PARTIES

    4. Plaintiff Gritters is a natural person who resides at 3018 182nd Place, Lansing, IL 60438

(“subject property”). The subject property is Gritters’ primary residence.

    5. Defendant OCWEN LOAN SERVICING, LLC (“Ocwen”) is a Florida corporation with

its principal place of business in Florida. Ocwen is a foreign company in the business of

servicing loans and debt collection across the country, including in the state of Illinois.

    6. Defendant NATIONSTAR MORTGAGE, LLC (“Nationstar”) is a Delaware corporation

with its principal place of business in Texas. Nationstar is a foreign company in the business of

servicing loans and debt collection across the country, including in the state of Illinois.

    7. Defendant FEDERAL HOME LOAN MORTGAGE CORPORATION (“Freddie Mac”)

is a government-sponsored enterprise with its headquarters in Virginia. Freddie Mac is the

purported creditor/owner of the subject loan.

    8. Defendant PIERCE & ASSOCIATES, P.C. (“Pierce”) is a law firm authorized to do

business in the state of Illinois. Pierce is in the business of collecting debts from Illinois residents

on behalf of third-party creditors, servicers, and debt collectors.

                                             INTRODUCTION

    9. In 2003, Gritters executed a mortgage loan in the amount of $59,900.00 in favor of

Taylor, Bean & Whitaker for the purchase of the subject property. See Exhibit A attached hereto

is a true copy of the mortgage; see also Exhibit B attached hereto is a true copy of the note.

    10. Ocwen filed foreclosure against Gritters on February 25, 2010 after a payment default.

    11. On April 1, 2010, Gritters obtained a loan modification from Ocwen.




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   12. Since that date through the filing of this lawsuit, Gritters has tendered all of the monthly

payments as required under the loan modification. Most months Gritters overpaid her mortgage

by $25 to $150.

   13. After the loan modification, Ocwen continued to treat the loan as if it were in default.

   14. Ocwen failed to properly account for Gritters’ payments or update its records to reflect

the terms of the modification. Ocwen perpetually mishandled Gritters’ escrow account,

substantially overcharged Gritters for taxes and insurance, and failed to apply or manage the

escrow funds in compliance with the provisions of RESPA and the mortgage contract.

   15. Moreover, Ocwen failed to notify its foreclosure attorneys that a modification was in

effect. Ocwen continued to charge Gritters for foreclosure fees for thirteen additional months.

   16. Nationstar purchased the servicing rights from Ocwen in May 2013. Nationstar continued

to treat the loan as if it were in default and continued to mishandle Gritters’ escrow account.

   17. Gritters made countless “Fair Debt Disputes” and sent numerous “Qualified Written

Requests” to both Ocwen and Nationstar. Ocwen and Nationstar justified their conduct without

any good faith basis and without conducting a reasonable investigation.

   18. On October 25, 2013, Pierce sent Gritters a debt validation letter stating that it had been

hired by Nationstar to commence foreclosure proceedings. On November 11, 2013, Gritters sent

a letter to Pierce disputing the validity of the debt and denying the default. Pierce did not verify

the debt before filing a second foreclosure against Gritters on January 22, 2014.




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                            FACTS SUPPORTING CAUSES OF ACTION

   19. The subject loan required that Gritters make monthly payments of principal, interest, and

escrow for taxes and insurance. See Exhibit A at ¶ 2.

   20. Any payments were to be allocated (a) first to pay interest due, (b) second to pay

principal due, (c) third to fund the escrow account, (d) and fourth to pay any other amounts due,

with any remaining amounts to reduce the principal balance. Id. at ¶¶ 2-3.

   21. Gritters’ mortgage stated that funds in the escrow account (taxes and insurance) were not

to exceed the amount allowed under RESPA (the “1/6th cushion”). Id. at ¶ 3.

   22. Any surplus in Gritters’ escrow account at the end of the escrow year was to be refunded

or applied in accordance with RESPA. Id.

           a. The First Foreclosure Case & Loan Modification

   23. Gritters defaulted on her monthly payment obligations in June 2009.

   24. On August 13, 2009, Ocwen acquired the servicing rights for the subject loan.

   25. On February 25, 2010, Ocwen filed a foreclosure action against Gritters.

   26. In March 2010, Gritters received a loan modification offer from Ocwen as the servicer on

behalf of the owner of the loan.

   27. Ocwen represented to Gritters over the phone that the foreclosure action would be

dismissed upon receipt of the signed modification and the initial payment. Ocwen also

represented that her loan would be current and no additional fees would be owed.

   28. On March 20, 2010, Gritters accepted the loan modification by signing the agreement and

sending a copy to Ocwen. See Exhibit C attached hereto is a true copy of the loan modification.




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    29. The terms of the loan modification were as follows:

           i.   New Principal Balance of $62,691.34;
          ii.   Initial Payment of $650.26 due on 4/1/10;
         iii.   New Monthly Payments of $624.26 beginning on 5/1/10;
         iv.    5.0% fixed interest rate; and
          v.    40 year loan, maturity date: 3/1/50. Id.

    30. The monthly payments of $624.26 were comprised of $302.30 for principal and interest,

and $321.96 for escrow (taxes and insurance).

    31. The loan modification increased Gritters’ principal balance to $62,691.34 by adding nine

payments of approximately $700.00 and an “escrow adjustment” of $1,014.26. These added

payments and fees brought Gritters’ loan and escrow account current. Id.

    32. The loan modification stated:

        “You agree that the new principal balance due under your modified Note and the
        Mortgage will be $62,691.34. Upon modification, your Note will become
        contractually current; however fees and charges that were not included in this
        principal balance will be your responsibility.”

        Id. at ¶ 1. (Emphasis added.)

    33. The loan modification did not list any outstanding or accrued fees and costs. Gritters was

advised that she did not owe additional fees and charges.

    34. Gritters relied upon the representation that her loan was current when she accepted the

modification and relied upon the representation that the foreclosure case would be dismissed.

    35. Gritters made her first payment of $650.26 on March 29, 2010; the loan was modified.

    36. Although the first loan modification payment was made timely, Ocwen incorrectly

imputed the first payment into its computer system as being made on April 27, 2010 and imputed

the effective date of the loan modification into its computer system as April 27, 2010.




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      37. In the intervening period between April 1, 2010 and April 27, 2010, Ocwen assessed

hundreds of dollars in unearned fees and costs.

      38. When Ocwen applied Gritters’ payments on April 27, 2010, it deducted amounts for

unearned fees and costs before applying her payments to principal, interest, and escrow.

      39. Ocwen continued to treat the loan as if it were in default by applying Gritters’ payments

to pre-modification charges, including taxes, insurance, foreclosure fees, and costs.

      40. Without sending notice to Gritters, Ocwen assessed penalties, increased Gritters’ monthly

payment amount, and recorded her loan as past due.

              b. Escrow April 2010 through March 2011

      41. Ocwen failed to adjust Gritters’ escrow account at the onset of her loan modification.

Instead, Ocwen artificially increased the actual amounts owed for fees, taxes, and insurance.

      42. Pursuant to the loan modification, Gritters’ escrow account was fully funded and

contractually current on April 1, 2010. Id.

      43. On April 1, 2010, Gritters’ escrow account had a balance of $1,571.77. 1

      44. From April 2010 to March 2011, Gritters’ payments to Ocwen totaled $8,006.50. Of the

$8,006.50, a total of $3,627.60 was allocated to principal and interest ($302.30 x 12 months).

      45. Per the mortgage contract, the remaining $4,378.90 ($8,006.50 - $3,627.60) should have

been allocated to escrow. See Exhibit A at ¶¶ 2-3.

      46. In addition to the beginning balance of $1,571.77, the total amount allocated to escrow

from April 2010 to March 2011 should have been $5,950.67 ($1,571.77 + $4,378.90).




1
    Based on Ocwen’s own Annual Escrow Account Disclosure Statement.


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    47. Between April 2010 and March 2011, Gritters owed a total of $3,272.07 for real estate

taxes and a total of $978.00 for insurance. The total amount actually paid from Gritters’ escrow

account for taxes and insurance was $4,250.07 ($3,272.07 + $978.00). 2

    48. Therefore, as of March 2011, Gritters’ escrow account should have had a positive escrow

balance of $1,700.70 ($5,950.67 - $4,250.07).

    49. However, on March 9, 2011, Ocwen sent Gritters a notice that Ocwen had paid $4,550.09

for her property taxes and $1,851.00 for hazard insurance. In total, Ocwen claimed to have paid

$6,401.09 ($4,550.09 + $1,851.00) for taxes and insurance from Gritters’ escrow account.

    50. These numbers were artificially inflated and grossly inaccurate. 3

    51. The above notice misrepresented the actual amounts paid, and inflated Gritters’ true

obligations for taxes and insurance by over $2,000.00 for this time period. As a result of the

inflated numbers, Ocwen assessed an escrow “shortage” of $397.15 in March 2011.

    52. Ocwen attempted to charge Gritters for the $397.15 escrow “shortage” the following year

by increasing her monthly payment by $33.10 over the next 12 months ($397.15 / 12 months).

    53. In reality, Gritters never had an escrow “shortage” and was not in default; the amounts

paid were sufficient to cover all principal, interest, and escrow (taxes and insurance).

    54. Ocwen’s improper accounting forced Gritters into a perpetual state of “default.”

    55. In March 2011, Gritters should have had an escrow balance of $1,700.70. Ocwen never

returned or applied the $1,700.70 surplus in accordance with RESPA. This amount was well




2
  The second installment of real estate taxes for 2009 was for $1,559.58 and due by December 13, 2010. The first
installment of real estate taxes for 2010 was for $1,712.49 and due by April 1, 2011.
3
  Ocwen’s own payment history confirmed that a total of $1,559.58 was paid for real estate taxes in December 2010
and $1,712.49 was paid for real estate taxes in March 2011. The payment history also confirmed that $978.00 in
total was paid for insurance in January 2011.


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above the 1/6th annual escrow cushion allowable under RESPA. Ocwen continued to send

Gritters statements that she owed additional amounts for escrow and that she was in default.

             c. The Foreclosure Case and Gritters’ “Reinstatement”

    56. In April 2011, Gritters saw that her home was listed “in foreclosure” on real estate

websites. She had been told that the foreclosure case was dismissed one year prior.

    57. On April 12, 2011, Ocwen sent Gritters a notice with “reinstatement” figures. The notice

claimed that Gritters owed a total of $386.92 to cure a purported default. The reinstatement

figures included the monthly payment due for April 2011. 4

    58. Since April’s monthly payment was approximately $650.00, a reinstatement amount of

$386.92 confirmed that Gritters had overpaid her mortgage to date. 5

    59. Gritters paid the $386.92 to Ocwen on April 16, 2011.

    60. On April 27, 2011, Ocwen sent a letter admitting that Gritters was current. On May 6,

2011, Ocwen dismissed the foreclosure action, thirteen months after the loan modification.

    61. Ocwen continued to charge Gritters for “foreclosure fees” and deducted those amounts

from Gritters’ monthly payments and escrow account. Ocwen continued to send notices stating

that Gritters was in default and that her escrow account was underfunded.

             d. Escrow April 2011 through March 2012

    62. On April 1, 2011, Gritters’ escrow account should have had a balance of $1,700.70.




4
 On April 2, 2011, Ocwen also sent a correspondence claiming $1,410.02 was due. On April 6, 2011, Ocwen sent a
correspondence claiming $1,239.91 was due.
5
 Reinstatement by definition is a one-time payment to catch up on all the arrearages to make a loan current. By
admitting that the total amount due in April 2011 was less than the scheduled April 2011 payment, Gritters was not
actually behind on her loan.


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     63. From April 1, 2011 through March 2012, Gritters made monthly payments to Ocwen that

totaled $7,321.74. Of the $7,321.74, a total of $3,627.60 was allocated to principal and interest

($302.30 x 12 months).

     64. The remaining $3,694.14 ($7,321.74 - $3,627.60) should have been allocated to escrow.

     65. In addition to the beginning balance of $1,700.70, the total amount allocated to escrow

from April 2011 to March 2012 should have been $5,394.84 ($1,700.70 + $3,694.14).

     66. Between April 2011 and March 2012, Gritters owed a total of $3,689.94 for real estate

taxes and a total of $1,058.97 for insurance. 6

     67. The total amount actually paid from Gritters’ escrow account for taxes and insurance

from April 2011 to March 2012 was $4,748.91 ($3,689.94 + $1,058.97).

     68. Therefore, as of April 2012, Gritters’ escrow account should have had a positive escrow

balance of $645.93 ($5,394.84 - $4,748.91). 7 However, Ocwen assessed an escrow “shortage”

against Gritters in the amount of $767.40, notwithstanding the positive balance.

     69. Ocwen attempted to charge Gritters for the $767.40 escrow “shortage” the following year

by increasing her monthly payment by $63.95 over the next 12 months ($767.40 / 12 months).

     70. In reality, Gritters never had an escrow shortage and was not in default; the amounts paid

were sufficient to cover all principal, interest, and payments to escrow (taxes and insurance).

     71. Ocwen never returned or applied the $645.93 surplus in accordance with RESPA.

     72. Ocwen continued to send Gritters correspondence suggesting that she owed additional

amounts for escrow and stating that she was in default.


6
  The second installment of real estate taxes for 2010 was for $1,772.95 and due by November 1, 2011. The first
installment of real estate taxes for 2011 was for $1,916.99 and due by March 1, 2012.
7
 Ocwen’s own payment history confirmed that a total of $1,772.95 was paid for real estate taxes in December 2011
and $1,916.99 was paid for real estate taxes in February 2012. The payment history also confirmed that a total of
$1,058.97 was paid for insurance in January 2012.


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            e. Escrow April 2012 to March 2013

     73. Freddie Mac obtained ownership of the subject mortgage loan in April 2012.

     74. On April 1, 2012, Gritters’ escrow account should have had a balance of $645.93.

     75. From April 1, 2012 to March 2013, Gritters’ payments to Ocwen totaled $8,360.88. Of

the $8,360.88, a total of $3,627.60 was allocated to principal and interest ($302.30 x 12 months).

     76. The remaining $4,733.28 ($8,360.88 - $3,627.60) should have been allocated to escrow.

     77. Including the beginning balance of $645.93, the total amount allocated to escrow from

April 2012 to March 2013 should have been $5,379.21 ($645.93 + $4,733.28).

     78. Between April 2012 and March 2013, Gritters owed a total of $3,083.03 for real estate

taxes and a total of $1,207.11 for insurance. 8

     79. The total amount actually paid from Gritters’ escrow account for taxes and insurance

from April 2012 to March 2013 was $4,290.14 ($3,083.03 + $1,207.11). 9

     80. Therefore, as of March 2013, Gritters’ escrow account should have had a positive escrow

balance of $1,089.07 ($5,379.21 - $4,290.14).

     81. Ocwen never returned or applied the $1,089.07 surplus in accordance with RESPA or the

mortgage contract. The amount was above the 1/6th cushion allowable under RESPA.

     82. Instead, Ocwen continued to send Gritters statements suggesting that she owed additional

amounts for escrow and stating that she was in default.




8
  The second installment of real estate taxes for 2011 was for $1,308.83 and due by August 1, 2012. The first
installment of real estate taxes for 2012 was for $1,774.20 and due by March 1, 2013.
9
  Ocwen’s own payment history confirmed that a total of $1,308.83 was paid for real estate taxes in July 2012 and
$1,774.20 was paid for real estate taxes in February 2013. The payment history also confirmed that $1,207.11 in
total was paid for insurance in January 2012.


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             f. April 2013 to Present and the Transfer of Servicing to Nationstar

      83. On May 16, 2013, Nationstar purchased the servicing rights from Ocwen.

      84. Nationstar made its initial communication with Gritters on May 28, 2013.

      85. On June 5, 2013, Nationstar sent Gritters a correspondence claiming that Gritters was in

default for five (5) missed monthly payments and owed a total of $4,134.23. In short, Nationstar

continued Ocwen’s practices of collecting illegal charges, fees, and costs.

      86. On approximately June 10, 2013, Gritters phoned Nationstar to dispute the debt.

Nationstar spoke with Gritters and acknowledged her dispute.

      87. Gritters was current and had continued to make her monthly payment to Nationstar each

month in the amount of $760.08 to $788.64. On the date that Nationstar obtained servicing

rights, Gritters should have had an escrow balance of $1,089.07. 10

      88. Notwithstanding the dispute, Nationstar continued to collect the debt and began charging

Gritters $486.34 for escrow each month ($5,826.08 annually). This was more than the 1/6th

cushion allowed under RESPA or the amount necessary to pay annual taxes and insurance.

             g. QWRs to Ocwen and Nationstar

      89. Beginning in April 2011 through September 2013, Gritters sent numerous RESPA

Qualified Written Requests (“QWRs”) to Ocwen. Some of the QWRs were sent by Gritters and

some were sent by the Illinois Attorney General on her behalf. Ocwen responded to each QWR

by claiming that it had investigated her account and verified its own accounting as accurate.

      90. Ocwen did not investigate anything in response to the QWRs. Ocwen did not address (a)

its mismanagement of the escrow; (b) reasons for the monthly payment increases or the escrow

“shortages;” (c) the overcharging of taxes and insurance; (d) the assessment of pre-modification


10
  Beginning in August 2013, Nationstar began rejecting Gritters monthly payments. Through the filing of this
lawsuit, Gritters continued to tender her payment each month to Nationstar.

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charges to post-modification statements; (e) withholding escrow funds in excess of the 1/6th

cushion; or (f) assessing of “foreclosure charges” one year after the modification.

   91. Instead, Ocwen advised Gritters to contact a “certified accountant” if she had “difficulty

understanding” the servicing of her mortgage by Ocwen.

   92. On September 6, 2013, Gritters sent a QWR to Nationstar disputing the servicing of her

loan, assessment of fees, and the amount that Nationstar claimed in arrears.

   93. On September 23, 2013, Nationstar responded to the QWR and stated that:

          a.   Gritters’ loan had been modified in April 2010;
          b.   At the time of the servicing transfer (5/16/13) the account was due for the
               February 1, 2013 monthly installment;
          c.   The payment Nationstar received on July 5, 2013 was applied to March 1, 2013;
          d.   Gritters’ August 2013 payment was returned to her;
          e.   On August 1, 2013, Nationstar accelerated the loan;
          f.   The account was referred to foreclosure on September 9, 2013;
          g.   Gritters’ loan is contractually due for April 1, 2013; and
          h.   Freddie Mac was the owner/creditor of the subject loan.

   94. In reality, Nationstar did not investigate anything in response to the QWR. Nationstar

merely attached a very basic and inaccurate payment history to its response without explanation.

   95. Nationstar did not address its mismanagement of escrow, reasons for the monthly

payment increases, the escrow “shortages,” the overcharging of taxes and insurance, or the

assessment of pre-modification charges to post-modification statements.

   96. Instead, the payment history established that Nationstar assessed $272.16 in late charges

and $227.50 for 22 property inspection fees in a single day.




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                                        CAUSES OF ACTION

   97. Gritters has a valid and enforceable mortgage contract with (a) Freddie Mac as the

creditor/owner of the subject loan, (b) Ocwen because the loan modification was executed

between Ocwen and Gritters, and (c) Nationstar as the assignee of Ocwen (Ocwen and

Nationstar collectively referred to as the “Servicers”).

   98. The Servicers are agents of Freddie Mac, and Freddie Mac is the principal of the

Servicers. Therefore, Freddie Mac is liable for the acts and causes of action against the Servicers.

   99. Gritters has suffered damages of illegal fees, charges, interest, being denied credit,

remaining in a perpetual state of “default,” emotional distress, mental anguish, physical illness,

loss of time, and the loss of the misapplied payments. All of these damages were proximately

caused by the conduct of the Defendants described herein.

   100. Gritters restates each and every allegation set forth in this complaint as if fully alleged

in each count of this complaint.

                               COUNT I – BREACH OF CONTRACT
                       (AGAINST OCWEN, NATIONSTAR, AND FREDDIE MAC)

   101. Gritters fully performed her duties under the contract by tendering all monthly

payments to the Servicers and by complying with all of the other terms of the contract.

   102. The mortgage contract sets forth, “[i]f there is a surplus of Funds held in escrow, as

defined under RESPA, Lender shall account to Borrower for the excess funds in accordance with

RESPA.” See Exhibit A at ¶ 3.

   103. The Servicers breached the contract when they (a) charged and maintained deposits in

Gritters’ escrow account above the limits allowed by Gritters’ mortgage contract or the 1/6th

cushion under RESPA, (b) implemented an “escrow shortage or deficiency” without providing

notice or producing documentation to substantiate the shortage prior to collection, (c) failed to

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send notice of the escrow increase or conduct an accurate annual escrow analysis before

imposing fees to Gritters’ escrow account, (d) failed to provide any notice of the escrow shortage

until after it had charged the amount to Gritters’ account and deducted it from the escrow, and

(e) failed to refund a escrow surplus over $50.

   104. The Servicers and Freddie Mac are in further material breach of contract for their:

            a.   failure to accept Gritters’ mortgage payments;
            b.   failure to credit and apply Gritters’ payments as required by the contract;
            c.   assessment of unauthorized late fees, legal fees, costs, & property inspection fees;
            d.   failure to apply payments to interest and principal before escrow and fees;
            e.   failure to dismiss the foreclosure action for thirteen months;
            f.   filing of a second wrongful foreclosure;
            g.   failure to provide accurate repayment and reinstatement figures;
            h.   failure to accurately respond to Gritters’ correspondence and other disputes;
            i.   overcharging Gritters’ escrow account for taxes and insurance;
            j.   increasing monthly payments without notification to Gritters;
            k.   placing the loan in “default;”
            l.   converting escrow funds to unauthorized fees and costs; and
            m.   failure to conduct their affairs in good faith.

       WHEREFORE, Plaintiff DONNA GRITTERS respectfully requests that this Honorable
Court to:
                 a. find that Ocwen, Nationstar, and Freddie Mac materially breached the
                    mortgage contract;
                 b. award Gritters her actual damages to be proven at trial;
                 c. award Gritters her reasonable attorney’s fees and costs; and
                 d. award Gritters any other relief this Honorable Court deems equitable and just.




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           COUNT II – VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT
                   (AGAINST OCWEN, NATIONSTAR, AND FREDDIE MAC)

   105. Gritters is a “consumer” as defined by FDCPA § 1692a(3).

   106. The subject debt and the unauthorized fees and costs qualify as a “debts” as defined by

FDCPA § 1692a(5) as they arise out of a transaction for personal, family, or household purposes.

   107. Freddie Mac and the Servicers qualify as “debt collectors” as defined by § 1692a(6)

because they regularly collect debts and use the mail and/or the telephone to collect delinquent

consumer accounts. The Servicers and Freddie Mac qualify as “debt collectors” because they

treated the subject debt like it was in default when each acquired rights to the subject debt.

           a. Violation of § 1692d

   108. The Servicers engaged in abusive and oppressive conduct through (i) perpetual

unethical mismanagement of the escrow account; (ii) perpetual refusal to refusal to correct their

accounting errors or adequately respond to Gritters’ repeated disputes over several years; (iii)

refusal to acknowledge the express terms of the loan modification; (iv) perpetual misapplication

and rejection of payments; (v) assessment of illegal fees; and (iv) a wrongful foreclosure.

           b. Violation of §§ 1692e & f

   109. The Servicers’ actions were unfair, unconscionable, false and deceptive as a result of

their (i) misrepresentations of the status of the debt; (ii) attempts to collect illegal fees and costs

not authorized by law or the contract; (iii) misrepresentations of the amounts owed for escrow;

(iv) declaring the loan in delinquent or default status when the loan modification was in effect;

(v) threatening foreclosure, (vi) filing a wrongful foreclosure, (vii) assessing illegal foreclosure

fees; and (viii) assessing escrow overdraft charges and improper corporate advances, fees, and

costs in their dunning letters, acceleration notices, restatement letters, and payoff letters.




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   110. The Servicers misrepresented the debt by lumping their attorney’s fees, unauthorized

 fees, and costs in with the principal debt obligation.

           c. Violation of § 1692g(a)

   111. After Nationstar initially communicated with Gritters on May 28, 2013, Nationstar was

required to send Gritters a 30-day validation notice within five days.

   112. Nationstar failed to send a proper validation notice within five days of the initial

communication with Gritters in violation § 1692g(a).

           d. Violation of § 1692g(b)

   113. After Nationstar initially communicated with Gritters on May 28, 2013, Gritters

disputed the debt on June 10, 2010, triggering Nationstar’s duty to verify the debt or cease

collection actions.

   114. After acknowledging Gritters’ debt dispute, Nationstar failed to verify the debt or cease

collection activities. Instead, Nationstar continued collection efforts after receiving Gritters’

dispute in violation of § 1692g(b).

           e. Violation of § 1692e(11)

   115. Ocwen’s communication with Gritters on February 18, 2013 failed to identify Ocwen

as a “debt collector” in violation of § 1692e(11).

   116. Nationstar’s initial communications with Gritters on May 28, 2013 did not include any

statement that even resembled, “that the debt collector is attempting to collect a debt and that any

information obtained will be used for that purpose” in violation of § 1692e(11).

   117. Additionally, in at least five subsequent communications, Nationstar failed to identify

itself as a “debt collector” in violation of § 1692e(11).




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           f. Violation of § 1692c(a)(2)

   118. After Nationstar was put on notice the Gritters was represented by an attorney,

Nationstar continued to communicate directly with Gritters on at least March 5, 2014 in violation

of § 1692c(a)(2).

       WHEREFORE, Plaintiff DONNA GRITTERS requests that this Honorable Court:

          a.     enter judgment in her favor and against Ocwen, Nationstar, and Freddie Mac;
          b.     declare that the practices complained of herein are unlawful and violate the
                 aforementioned statutes and regulations;
          c.     award Gritters statutory and actual damages, in an amount to be determined at
                 trial, for the underlying FDCPA violations;
          d.     order the deletion of all adverse credit reporting related to the loan;
          e.     award Gritters costs and reasonable attorney’s fees as provided under 15 U.S.C.
                 §1692k; and
          f.     award any other relief as this Honorable Court deems just and appropriate.

           COUNT III– VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT
                                   (AGAINST PIERCE)

   119. Pierce qualifies as a “debt collector” on behalf of Nationstar under FDCPA §§ 1692a(6)

and 1692e(2)(A).

   120. Pierce is a “debt collector” as defined by § 1692a(6) because it regularly uses the mails

and/or the telephone to collect, or attempt to collect, delinquent consumer accounts.

   121. Pierce is a “debt collector” in relation to the subject debt because it treated the debt like

it was in default when it acquired rights to the subject debt. Id.

           a.     Violation of § 1692g(a)

   122. After Pierce initially communicated with Gritters on September 16, 2013, Pierce was

required to send Gritters a 30-day validation notice within five days.

   123. Pierce failed to send Gritters any validation notice until October 15, 2013, in violation

of § 1692g(a).

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           b. Violation of §§ 1692g(a)(2) & 1692e

   124. Pierce’s validation notice dated October 25, 2013 stated, “The name of the current

Creditor to whom the debt is owed is NATIONSTAR MORTGAGE LLC.”

   125. The true name of the creditor on October 25, 2013 was Freddie Mac.

   126. Pierce’s failure to identify the name of the creditor to whom the debt is owed is a

violation of § 1692g(a)(2), and Pierce’s false representation that the creditor was “Nationstar

Mortgage LLC” on October 25, 2013 is a violation of § 1692e.

           c. Violation of § 1692g(b)

   127. After receipt of Pierce’s validation notice on October 25, 2013, Gritters disputed the

validity of the debt in writing on November 11, 2013, triggering Pierce’s duty to verify the debt

under § 1692g or cease collection actions until it verified the debt.

   128. Pierce failed to verify the debt or cease all collection activities after receipt of Gritters’

debt dispute letter. Instead, Pierce proceeded to file for foreclosure on January 22, 2014 in

violation of § 1692g(b).

   129. Pierce assessed charges against Gritters for illegal foreclosure fees after the November

11, 2013 debt dispute, without providing any verification of the debt in violation of § 1692g(b).

           d. Violation of § 1692c(a)(2)

   130. After Pierce was put on notice that Gritters was represented by an attorney, Pierce

continued to communicate directly with Gritters on at least March 12, 2014 in violation of §

1692c(a)(2).




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       WHEREFORE, Plaintiff DONNA GRITTERS requests that this Honorable Court:

          a. enter judgment in her favor and against Pierce;
          b. declare that the practices complained of herein are unlawful and violate the
             aforementioned statutes and regulations;
          c. award Gritters statutory and actual damages, in an amount to be determined at trial,
             for the underlying FDCPA violations;
          d. order the deletion of all adverse credit reporting related to the loan;
          e. award Gritters costs and reasonable attorney’s fees as provided under 15 U.S.C.
             §1692k; and
          f. award any other relief as this Honorable Court deems just and appropriate.

               COUNT IV – VIOLATION OF THE ILLINOIS CONSUMER FRAUD ACT
                   (AGAINST OCWEN, NATIONSTAR, AND FREDDIE MAC)

   131. Gritters meets the ICFA definition of “consumer.” See 810 ILCS 505/1.

   132. The Servicers violated 815 ILCS 505/2 by engaging in unfair and deceptive acts, and

by using fraud, deception, and misrepresentation in their attempts to collect a debt.

            a. Unfairness

   133. The Servicers’ conduct in relation to Gritters’ loan was willful, malicious, unfair,

arbitrary, and designed to place Gritters’ account in a perpetual state of default.

   134. The Servicers’ conduct offends public policy as it demonstrated an industry-wide

practice of charging unearned fees and costs to a borrowers in order to make a profit, and to

deceive borrowers into paying more than what is owed.

   135. The Servicers’ actions are immoral because overcharging Gritters for unearned fees,

overcharging Gritters’ escrow without providing a refund, and filing a wrongful foreclosure

amounts to an undue hardship to the borrower and an equally undue profit for the Servicers.

   136. The Servicers’ actions caused substantial injury to Gritters and to consumers generally,

as Gritters and consumers reasonably expect their contracts to be honored and their loans and

escrow accounts to be properly managed and their payments properly applied.

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   137. Gritters could not avoid these immoral undertakings because the Servicers would not

accurately communicate with her in response to her phone calls, letters, and other objections.

   138. When taken as a whole over several years, the Servicers’ conduct was so unethical and

unending, Gritters had no choice but to submit.

           b. Deception

   139. The Servicers’ following actions were deceptive: (i) attempting to collect upon and

foreclose upon a debt that was not in default; (ii) sending disclosures, statements, and notices

that included unauthorized or unearned costs and fees; (iii) making material misrepresentations

of fact regarding the status of the subject loan, the payment history, and the amounts actually

owed for taxes and insurance; (iv) overcharging Gritters’ escrow for taxes and insurance; (v)

providing conflicting disclosures to Gritters; and (vi) employing communications with Gritters

that were confusing and specifically designed to confuse Gritters so that she could not decipher

the true status of her loan account.

           c. Misrepresentation

   140. In addition to the above conduct, the Servicers misrepresented the amounts due so

Gritters could not understand why her payments were insufficient to bring the loan “current.”

   141. Gritters relied on the amounts that the Servicers stated that she owed to her detriment.

Gritters relied on the terms of the loan modification and representations that the foreclosure

would be dismissed.

   142. The Servicers misrepresented the effective date of the loan modification as April 27,

2010 as opposed to April 1, 2010, and misrepresented the date of Gritters’ first payment.

   143. The Servicers made material misrepresentations regarding the amounts due under the

loan, amounts due for escrow, and how Gritters’ payments were applied.



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   144. Due to the misrepresentations, Gritters was unable to determine why her payments were

“insufficient” to bring the loan “current” or why she was required to overpay her escrow account.

   145. The misrepresentations, deception, and unfair practices complained of occurred in the

course of conduct involving trade or commerce. Gritters relied upon the misrepresentations,

deception, and unfair practices to her detriment.

   146. Punitive damages are warranted because the Servicers’ conduct was outrageous, willful,

wanton, and showed reckless disregard for the rights of Gritters and consumers in general.

       WHEREFORE, Plaintiff DONNA GRITTERS requests that this Honorable Court:

          a.   enter judgment in her favor and against Ocwen, Nationstar, and Freddie Mac;
          b.   declare that the practices complained of herein are unlawful and violate the
               aforementioned statutes and regulations;
          c.   award Gritters statutory, actual, and punitive damages, in an amount to be
               determined at trial, for the underlying ICFA violations;
          d.   award Gritters costs and reasonable attorney’s fees as provided under 815 ILCS
               505/10a(c); and
          e.   award any other relief as this Honorable Court deems just and appropriate.

        COUNT V – VIOLATION OF THE REAL ESTATE SETTLEMENT PROCEDURES ACT
                         (AGAINST OCWEN AND NATIONSTAR)

   147. The subject loan is a “federally related mortgage” under RESPA. See Exhibit A.

   148. The Servicers each qualify as a “servicer” under RESPA § 2605(i)(2).

   149. While servicing the subject loan, the Servicers charged Gritters improper fees, costs,

and charges not legally due under the mortgage contract or applicable law.

   150. The Servicers violated RESPA by requiring Gritters to make excessive escrow

payments not based on reasonably estimated expenditures or publically available data, tax bills,

or insurance bills for the subject property.




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   151. The Servicers failed to timely acknowledge receipt of, respond to, or conduct a

reasonable investigation in response to Gritters’ QWRs or requests for information and disputes

regarding loan servicing in violation of RESPA § 2605(e).

   152. The Servicers violated RESPA by failing to correct Gritters’ account within sixty days

of receiving a letter disputing the servicing in violation of RESPA § 2605(e).

   153. The Servicers violated RESPA § 2605(e) by failing to acknowledge receipt of Gritters’

letters disputing the application of payments, the assessment of illegal fees, and the handling of

the escrow account.

   154. The Servicers deducted amounts for taxes and insurance from Gritters’ escrow account

that were not owed, failed to make timely proper payments for taxes and insurance from the

escrow account, and the funds were never returned to Gritters in violation of § 2605(g).

   155. Nationstar failed to credit, treated as late, and charged a late fee for payments made to

Nationstar during the 60-day transfer when it acquired the servicing rights from Ocwen on May

16, 2013 in violation of § 2605(d).

     WHEREFORE, Plaintiff DONNA GRITTERS requests that this Honorable Court:

            a. grant judgment in her favor and against Ocwen and Nationstar;
            b. declare Ocwen and Nationstar’s perpetual conduct to be a violation of RESPA;
            c. award Gritters actual and additional damages pursuant to RESPA § 2605;
            d. award Gritters reasonable attorney’s fees and costs pursuant to RESPA § 2605(f);
               and
            e. award any other relief this Honorable Court deems equitable and just.




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                          COUNT VI – BREACH OF FIDUCIARY DUTY
                      (AGAINST OCWEN, NATIONSTAR, AND FREDDIE MAC)

    156. A fiduciary relationship existed between the Servicers and Gritters with respect to

management of Gritters’ escrow account.

    157. The Servicers (and therefore Freddie Mac) owed a fiduciary duty to Gritters because

they were placed in a position of trust while managing Gritters’ escrow account.

    158. The Servicers had a duty under the mortgage with respect to the escrow account to

apply the amounts held in escrow for proper purposes only.

    159. The Servicers breached their duty by (a) using escrow funds to pay unearned fees and

costs and to overpay taxes and insurance; (b) misleading Gritters as to the amount of insurance

and taxes owed; (c) debiting illegal amounts from the escrow account without authorization; and

(d) profiting from undisclosed fees and costs and overpayment of taxes and insurance.

    160. The Servicers and Freddie Mac failed to manage the escrow account in good faith when

they (a) failed to properly account for timely payments; (b) failed to provide sufficient notice of a

payment change or escrow change; (c) failed to provide Gritters notice for actual amounts due for

insurance and taxes; (d) failed to respond to Gritters after repeated requests; and (e) used the

escrow account to pay for unauthorized fees unrelated to taxes or insurance.

    161. The Servicers exercised their discretion arbitrarily, capriciously, and in a manner

inconsistent with the reasonable expectations of the parties, without a proper motive.

        WHEREFORE, Plaintiff DONNA GRITTERS respectfully requests that this Honorable
Court to:
              a. find that Ocwen, Nationstar, and Freddie Mac materially breached their
                 fiduciary duties;
              b. award Gritters her actual damages and punitive damages to be proven at trial;
              c. award Gritters her reasonable attorney’s fees and costs; and
              d. award Gritters any other relief this Honorable Court deems equitable and just.

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                   COUNT VII – VIOLATION OF THE TRUTH IN LENDING ACT
                                 (AGAINST FREDDIE MAC)

           a . Violation of § 1641

   162. In April 2012, the subject loan was sold to Freddie Mac.

   163. Neither Ocwen nor Freddie Mac provided notice of the sale or transfer of the master

servicing and ownership of the debt within 30 days as required by § 1641(g).

           b. Violation of §1666d

   164. Freddie Mac and the Servicers collected fees, costs, and charges in excess of that

permitted by the mortgage contract or permitted by law resulting in a credit balance in the

subject loan account in excess of $1.

   165. Gritters requested that the Servicers refund the credit balance but the Servicers refused.

This resulted in unearned fees and finance charges withheld by and for the benefit of the

Servicers and Freddie Mac, amounting to a violation of TILA § 1666d.

   WHEREFORE, Plaintiff DONNA GRITTERS request that this Honorable Court:

           a. grant judgment in her favor and against Freddie Mac;
           b. declare Freddie Mac’s conduct to be a violation of TILA;
           c. award Gritters actual and additional damages pursuant to TILA § 1666d;
           d. award Gritters reasonable attorney’s fees and costs pursuant to TILA § 1666d;
              and
           e. award any other relief this Honorable Court deems equitable and just

Plaintiff demands trial by jury.
                                             Respectfully Submitted,
                                             By: ___/s/Ross M. Zambon____
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